                              UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF TENNESSEE
                                   NASHVILLE DIVISION

SHERI SHAW,

      Plaintiff,                                    CASE NO.:

v.

PAYPAL, INC.
d/b/a BILL ME LATER, INC.,

      Defendant.
                                       /

                    COMPLAINT AND DEMAND FOR JURY TRIAL

        COMES NOW, Plaintiff, Sheri Shaw, by and through the undersigned counsel, and

sues Defendant, PAYPAL, INC. d/b/a BILL ME LATER, INC. (hereinafter “Defendant”),

and in support thereof respectfully alleges violations of the Telephone Consumer

Protection Act, 47 U.S.C. § 227 et seq. (“TCPA”).

                                     INTRODUCTION

          1.       The TCPA was enacted to prevent companies like Defendant from

invading American citizen’s privacy and to prevent abusive “robo-calls.”

          2.       “The TCPA is designed to protect individual consumers from receiving

intrusive and unwanted telephone calls.” Mims v. Arrow Fin. Servs., LLC, 132 S. Ct. 740

(2012).

          3.       “Senator Hollings, the TCPA’s sponsor, described these calls as ‘the

scourge of modern civilization, they wake us up in the morning; they interrupt our dinner

at night; they force the sick and elderly out of bed; they hound us until we want to rip the



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telephone out of the wall.” 137 Cong. Rec. 30, 821 (1991). Senator Hollings presumably

intended to give telephone subscribers another option: telling the autodialers to simply

stop calling.” Osorio v. State Farm Bank, F.S.B., 746 F. 3d 1242, 1256 (11th Cir. 2014).

        4.        According     to   the   Federal   Communications    Commission     (FCC),

“Unwanted calls are far and away the biggest consumer complaint to the FCC with over

200,000 complaints each year – around 60 percent of all the complaints…Some private

analyses estimate that U.S. consumers received approximately 2.4 billion robocalls per

month        in   2016.”      https://www.fcc.gov/about-fcc/fcc-initiatives/fccs-push-combat-

robocalls-spoofing.

                                JURISDICTION AND VENUE

         5.       Jurisdiction and venue for purposes of this action are appropriate and

conferred by 28 U.S.C. § 1331, Federal Question Jurisdiction, as this action involves

violations of the TCPA.

         6.       Subject matter jurisdiction, federal question jurisdiction, for purposes of

this action is appropriate and conferred by 28 U.S.C. § 1331, which provides that the

district courts shall have original jurisdiction of all civil actions arising under the

Constitution, laws, or treaties of the United States; and this action involves violations of

47 U.S.C. § 227(b)(1)(A)(iii). See Mims v. Arrow Fin. Servs., LLC, S.Ct. 740, 748 (2012)

and Osorio v. State Farm Bank, F.S.B., 746 F.3d 1242, 1249 (11th Cir. 2014).

        7.        The alleged violations described herein occurred in Williamson County,

Tennessee. Accordingly, venue is appropriate with this Court under 28 U.S.C.




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§1391(b)(2), as it is the judicial district in which a substantial part of the events or

omissions giving rise to this action occurred.

                              FACTUAL ALLEGATIONS

       8.      Plaintiff is a natural person, and citizen of the State of Tennessee, residing

in the city of Franklin, Williamson County.

       9.      Plaintiff is the “called party.” See Breslow v. Wells Fargo Bank, N.A., 755

F. 3d 1265 (11th Cir. 2014) and Osorio v. State Farm Bank, F.S.B., 746 F.3d 1242 (11th

Cir. 2014).

       10.     Defendant is a corporation which was formed in Delaware with its

principal place of business located at 2211 North First Street, San Jose, California 95131

and which conducts business in the State of Tennessee.

       11.     Defendant called Plaintiff approximately two hundred (200) times in an

attempt to collect a consumer debt.

       12.     Some or all of the calls Defendant made to Plaintiff’s cellular telephone

number were made using an “automatic telephone dialing system” which has the capacity

to store or produce telephone numbers to be called, using a random or sequential number

generator (including but not limited to a predictive dialer) or an artificial or prerecorded

voice; and to dial such numbers as specified by 47 U.S.C § 227(a)(1) (hereinafter

“autodialer calls”). Plaintiff will testify that she knew it was an autodialer because of the

vast number of calls she received and because she heard a pause and a beep sound when

she answered her phone before a voice came on the line.




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       13.     Plaintiff believes the calls were made using equipment which has the

capacity to store numbers to be called and to dial such numbers automatically.

       14.     Plaintiff is the subscriber, regular user and carrier of the cellular telephone

number (615) ***-8590, and was the called party and recipient of Defendant’s calls.

       15.     Defendant placed an exorbitant number of automated calls to Plaintiff’s

cellular telephone (615) ***-8590 in an attempt to collect on a consumer loan.

       16.     Upon receipt of the calls from Defendant, Plaintiff’s caller ID identified

the calls were being initiated from, but not limited to, the following telephone number:

(888) 393-7162.

       17.     On several occasions over the last four (4) years, Plaintiff instructed

Defendant’s agent(s) to stop calling her cellular telephone.

       18.     On or about December 2018, Plaintiff communicated with Defendant from

her aforementioned cellular telephone number and instructed Defendant’s agent to cease

calling her cell phone because the calls were harassing.

       19.     Despite clearly and unequivocally revoking any consent Defendant may

have believed they had to call Plaintiff on his cellular telephone, Defendant continues to

place automated calls to Plaintiff.

       20.     Each subsequent call Defendant made to Plaintiff’s aforementioned

cellular telephone number was done so without the “express consent” of Plaintiff.

       21.     Each subsequent call Defendant made to Plaintiff’s aforementioned

cellular telephone number was knowing and willful.




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        22.    Plaintiff’s numerous conversations with Defendant’s agent/representative

wherein he demanded a cessation of calls were in vain as Defendant continues to

bombard him with an automated call unabated.

        23.    Defendant intentionally harassed and abused Plaintiff on numerous

occasions by calling several times during one day, and on back to back days, with such

frequency as can reasonably be expected to harass.

        24.    Defendant has a corporate policy to use an automatic telephone dialing

system or a pre-recorded or artificial voice to individuals just as they did to Plaintiff’s

cellular telephone in this case.

        25.    Defendant has a corporate policy to use an automatic telephone dialing

system or a pre-recorded or artificial voice, just as they did to the Plaintiff’s cellular

telephone in this case, with no way for the consumer, or Defendant, to remove the

number.

        26.    Defendant’s corporate policy is structured so as to continue to call

individuals like Plaintiff, despite these individuals explaining to Defendant they do not

wish to be called.

        27.    Defendant has numerous other federal lawsuits pending against them

alleging similar violations as stated in this Complaint.

        28.    Defendant has numerous complaints against it across the country asserting

that its automatic telephone dialing system continues to call despite being requested to

stop.




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        29.    Defendant has had numerous complaints against it from consumers across

the country asking to not be called, however Defendant continues to call these

individuals.

        30.    Defendant’s corporate policy provided no means for Plaintiff to have

Plaintiff’s number removed from Defendant call list.

        31.    Defendant has a corporate policy to harass and abuse individuals despite

actual knowledge the called parties do not wish to be called.

        32.    Not one of Defendant’s telephone calls placed to Plaintiff were for

“emergency purposes” as specified in 47 U.S.C. § 227(b)(1)(A).

        33.    Defendant willfully and/or knowingly violated the TCPA with respect to

Plaintiff.

        34.    From each and every call placed without express consent by Defendant to

Plaintiff’s cell phone, Plaintiff suffered the injury of invasion of privacy and the intrusion

upon her right of seclusion.

        35.    From each and every call without express consent placed by Defendant to

Plaintiff’s cell phone, Plaintiff suffered the injury of the occupation of her cellular

telephone line and cellular phone by unwelcome calls, making the phone unavailable for

legitimate callers or outgoing calls while the phone was ringing from Defendant call.

        36.    From each and every call placed without express consent by Defendant to

Plaintiff’s cell phone, Plaintiff suffered the injury of unnecessary expenditure of her time.

For calls she answered, the time she spent on the call was unnecessary as she repeatedly

asked for the calls to stop. Even for unanswered calls, Plaintiff had to waste time to



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unlock the phone and deal with missed call notifications and call logs that reflect the

unwanted calls. This also impaired the usefulness of these features of Plaintiff’s cellular

phone, which are designed to inform the user of important missed communications.

       37.     Each and every call placed without express consent by Defendant to

Plaintiff’s cell phone was an injury in the form of a nuisance and annoyance to the

Plaintiff. For calls that were answered, Plaintiff had to go to the unnecessary trouble of

answering them. Even for unanswered calls, Plaintiff had to waste time to unlock the

phone and deal with missed call notifications and call logs that reflected the unwanted

calls. This also impaired the usefulness of these features of Plaintiff’s cellular phone,

which are designed to inform the user of important missed communications.

       38.     Each and every call placed without express consent by Defendant to

Plaintiff’s cell phone resulted in the injury of unnecessary expenditure of Plaintiff’s cell

phone’s battery power.

       39.     Each and every call placed without express consent by Defendant to

Plaintiff’s cell phone where a voice message was left which occupied space in Plaintiff’s

phone or network.

       40.     Each and every call placed without express consent by Defendant to

Plaintiff’s cell phone resulted in the injury of a trespass to Plaintiff’s chattel, namely her

cellular phone and her cellular phone services.

       41.     As a result of the calls described above, Plaintiff suffered an invasion of

privacy. Plaintiff was also affect in a personal and individualized way by stress, anxiety,

nervousness, embarrassment, distress and aggravation.



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                                        COUNT I
                                 (Violation of the TCPA)

        42.     Plaintiff fully incorporates and realleges paragraphs 1 through 41 as if

fully set forth herein.

        43.     Defendant willfully violated the TCPA with respect to Plaintiff,

specifically for each of the auto-dialer calls made to Plaintiff’s cellular telephone after

Plaintiff notified Defendant that Plaintiff wished for the calls to stop

        44.     Defendant repeatedly placed non-emergency telephone calls to Plaintiff’s

cellular telephone using an automatic telephone dialing system or prerecorded or artificial

voice without Plaintiff’s prior express consent in violation of federal law, including 47

U.S.C § 227(b)(1)(A)(iii).

        WHEREFORE, Plaintiff respectfully demands a trial by jury on all issues so

triable and judgment against Defendant for statutory damages, punitive damages, actual

damages, treble damages, enjoinder from further violations of these parts and any other

such relief the court may deem just and proper.

                                               Respectfully submitted,

                                               /s/ Frank H. Kerney, III______________
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